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                   UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

 TRACEY SMITH,                         )
                                       )
             Plaintiff,                )
                                       )
       v.                              )
                                       )
 EQUIFAX INFORMATION                   )
 SERVICES, LLC; EXPERIAN               )   CASE NO. 6:21-cv-00768-PGB-EJK
 INFORMATION SOLUTIONS,                )
 INC.; TRANS UNION, LLC; and           )
 NATIONAL CREDIT SYSTEMS,              )
 INC.,                                 )
                                       )
             Defendants.               )
                                       )

      DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S
           CERTIFICATE OF INTERESTED PERSONS AND
             CORPORATE DISCLOSURE STATEMENT

      Defendant Experian Information Solutions, Inc., pursuant to Middle District

Local Rule 3.03 and Federal Rule of Civil Procedure 7.1, submits the following

Certificate of Interested Persons and Corporate Disclosure Statement:

1.    Each person — including each lawyer, association, firm, partnership,
      corporation, limited liability company, subsidiary, conglomerate,
      affiliate, member, and other identifiable and related legal entity — that
      has or might have an interest in the outcome;

      a.    Plaintiff Tracey Smith

      b.    Daniel Brennan, Credit Repair Lawyers of America, Counsel for
            Plaintiff
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     c.    Defendant Experian Information Solutions, Inc. (“Experian”). The
           ultimate parent company of Experian is Experian plc. Experian plc
           indirectly owns 100 percent of Experian. Experian plc is registered as
           a public company in Jersey, Channel Islands, and is publicly traded
           on the London Stock Exchange. The following companies are the US-
           based subsidiaries of Experian plc that are not wholly owned and are
           not publicly traded:

           i.     Central Source LLC

           ii.    Online Data Exchange LLC

           iii.   New Management Services LLC

           iv.    VantageScore Solutions LLC

           v.     Opt-Out Services LLC

     d.    Maria H. Ruiz, Kasowitz Benson Torres, LLP, counsel for Defendant
           Experian.

     e.    Defendant Equifax Information Services LLC.

     f.    Defendant Trans Union, LLC

     g.    National Credit Systems, Inc.

2.   Each entity with publicly traded shares or debt potentially affected by the
     outcome:

     None other than those disclosed above.

3.   Each additional entity likely to actively participate, including in a
     bankruptcy proceeding the debtor and each member of the creditors’
     committee:

     None known at this time.

4.   Each person arguably eligible for restitution:

     None known at this time.
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      I certify that, except as disclosed, I am unaware of an actual or potential

conflict of interest affecting the district judge or the magistrate judge in this action,

and I will immediately notify the judge in writing within fourteen days after I

know of a conflict.

                                    /s/ Maria H. Ruiz
                                    Maria H. Ruiz
                                    Florida Bar No. 182923
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                                    Miami, FL 33131
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                                    Experian Information Solutions, Inc.
